    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 1 of 13
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        July 29, 2024
                                                                     Nathan Ochsner, Clerk
         In the United States District Court
          for the Southern District of Texas
                          GALVESTON DIVISION
                              ═══════════
                               No. 3:24-cv-198
                              ═══════════

                ENERGY TRANSFER, LP, ET AL., PLAINTIFFS,

                                     v.

       NATIONAL LABOR RELATIONS BOARD, ET AL., DEFENDANTS.
         ══════════════════════════════════════════
               MEMORANDUM OPINION AND ORDER
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JEFFREY VINCENT BROWN, UNITED STATES DISTRICT JUDGE:

     Before the court is the plaintiffs’ motion for a preliminary injunction to

halt an ongoing administrative proceeding before the National Labor

Relations Board (“NLRB”). Dkt. 21. The court will grant the motion.

     Background
     A. The NLRB
     The NLRB was created to help resolve “industrial disputes arising out

of differences as to wages, hours, or other working conditions.” 29

U.S.C. § 151. One of the “key functions” of the NLRB is to adjudicate

allegations that employers have engaged in “unfair labor practice[s].” Dkt.


                                    1/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 2 of 13




32 at 9 (citing 29 U.S.C. § 160). If the NLRB finds merit in an unfair-labor-

practice allegation, it issues a complaint. Id. And, in most cases, the

complaint is accompanied by a notice of hearing before an administrative

law judge (“ALJ”). Id.

      The NLRB’s ALJs are appointed by the five-member NLRB. 29

U.S.C. §§ 153–54. Removal of an ALJ is a two-step process: (1) the NLRB

members must bring an action to remove an ALJ; and (2) the Merit Systems

Protection Board (“MSPB”), an independent federal agency, must determine

that good cause for ALJ removal exists. Dkt. 32 at 11–12 (citing 5

U.S.C. § 7521(a)). In turn, members of the MSPB may be removed only for

“inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 1202(d).

      B. La Grange and the NLRB
      Energy Transfer owns and operates various energy assets across the

United States. Dkt. 21 at 3. La Grange Acquisition is an indirect subsidiary of

Energy Transfer. Id.

      In November 2022, a La Grange operator filed an unfair-labor-practice

charge with the NLRB alleging that La Grange had retaliated against him for

engaging in protected labor activity. Id. at 4. La Grange submitted evidence

and various position statements in response to the allegations. Id. On March

7, 2024, an NLRB regional director issued a complaint and notice of hearing

                                     2/13
       Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 3 of 13




to La Grange. Id. The hearing is set to take place on October 29, 2024. Dkt.

44.1

        La Grange alleges that four aspects of the impending administrative

procedure are unconstitutional: (1) the NLRB members are improperly

insulated from removal; (2) the NLRB’s ALJs are improperly insulated from

removal; (3) the NLRB’s adjudication of private rights and legal relief

violates the Seventh Amendment; and (4) the NLRB’s structure violates

separation-of-powers principles. Id. at 2.

        La Grange seeks a preliminary injunction to halt the impending

administrative proceeding. Id. The NLRB responded to the motion, and the

court held a preliminary-injunction hearing on July 16. Dkt. 32, Minute

Entry July 16, 2024.

        Legal Standard
        A preliminary injunction is “an extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). “A plaintiff

seeking a preliminary injunction must establish that he is likely to succeed

on the merits, that he is likely to suffer irreparable harm in the absence of


        1 The administrative hearing was originally set for July 30 but was reset after

this court’s preliminary-injunction hearing. Dkt. 44.

                                         3/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 4 of 13




preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.” Id. at 20. The moving party bears the

burden of proving each element. Janvey v. Alguire, 647 F.3d 585, 595 (5th

Cir. 2011).

      Analysis
      La      Grange    makes   four   separate   arguments   regarding     the

constitutionality of the NLRB’s structure. Dkt. 21 at 2. But as the court finds

that La Grange is entitled to the requested relief based on the ALJ-removal

argument alone, the court will not address the remaining arguments.

   A. Likelihood of Success on the Merits
              Jarkesy and Unconstitutional Removal Protections
      La Grange asserts that the two layers of for-cause removal protections

afforded to NLRB ALJs prevent the President from fully exercising his

authority under Article II of the Constitution. Dkt. 21 at 9. And, as the Fifth

Circuit recently held nearly identical provisions in another statute to be

unconstitutional, La Grange argues the court must do the same in this case.

Id. The court agrees.

      In Jarkesy v. Securities & Exchange Commission, 34 F.4th 446 (5th

Cir. 2022), aff’d on other grounds, 144 S. Ct. 2117 (2024), the Fifth Circuit

held that the statutory removal protections for Securities and Exchange

                                       4/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 5 of 13




Commission (“SEC”) ALJs were unconstitutional.2 Federal statutes afford

SEC ALJs two layers of for-cause removal protection. Id. at 463. First, SEC

ALJs are removable only “for good cause” as determined by the MSPB. 5

U.S.C. § 7521(a). Second, MSPB members themselves are only removable for

inefficiency, neglect of duty, or malfeasance in office.” 5 U.S.C. § 1202(d). So,

“if the President wanted an SEC ALJ to be removed, at least two layers of for-

cause protection stand in the President’s way.” Jarkesy, 34 F.4th at 465.

Applying Supreme Court precedent, the Fifth Circuit concluded that those

removal restrictions are unconstitutional. Id.

      The same holds true here. The removal provisions that protect NLRB

ALJs are indistinguishable from those that protect SEC ALJs. See Dkt. 21 at

9. Indeed, the NLRB has offered no distinction between the removal




      2 Jarkesy also held that the SEC proceedings violated the plaintiff’s Seventh

Amendment right to a jury trial. The Supreme Court granted certiorari, but as the
“jury trial question resolve[d] [the] case,” the Court did “not reach the
nondelegation or removal issues.” Sec. & Exch. Comm’n v. Jarkesy, 144 S. Ct. 2117,
2128 (2024). Therefore, this court remains bound by the Fifth Circuit’s removal-
protection determinations in Jarkesy. See United States v. Lopez-Velasquez, 526
F.3d 804, 808 n.1 (5th Cir. 2008) (“Absent an intervening Supreme Court case
overruling prior precedent, we remain bound to follow our precedent even when
the Supreme Court grants certiorari on an issue.”); see also Space Expl. Techs.
Corp., v. NLRB, No. 6:24-cv-203, Dkt. 41 at n.1 (W.D. Tex. July 23, 2024)
(hereinafter SpaceX) (concluding that Jarkesy is binding Fifth Circuit precedent
on removal issue).

                                      5/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 6 of 13




protections at issue and those held to be unconstitutional in Jarkesy.3 Dkt.

32 at 26; see also Dkt. 39 at 24:23–24:25 (injunction-hearing transcript)

(conceding Jarkesy “likely decides this issue as far as the merits go”). In light

of this precedent, La Grange will likely show that the removal protections

afforded to NLRB ALJs are unconstitutional. See SpaceX, No. 6:24-cv-203,

Dkt. 41 at 7. So La Grange will likely succeed on the merits.

            Collins and Causal Harm
      The NLRB insists that even if the challenged removal restrictions are

unconstitutional, Collins v. Yellen, 594 U.S. 220 (2021), compels La Grange

to show something it has not shown: that the President has sought to remove

the ALJ assigned to this case. Dkt. 32 at 17. La Grange responds that Collins

flatly “does not apply.” Dkt. 35 at 7. Not surprisingly, however, the true

import of Collins falls somewhere between the parties’ opposing all-or-

nothing positions.

      In Collins, the Court examined a constitutional challenge to the

statutory restrictions on the removal of the director of the Federal Housing

Finance Agency (“FHFA”). Collins, 594 U.S. at 250. While the Supreme Court

held that the challenged removal restrictions were indeed unconstitutional,


      3 The NLRB merely notes “its disagreement with the Fifth Circuit’s decision,

and preserves this argument for future stages of this case.” Dkt. 32 at 26.

                                       6/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 7 of 13




it nevertheless denied the plaintiff’s claim for relief for failure to show that

the removal provision “inflict[ed] compensable harm.” Id. at 259. The Fifth

Circuit has since held that “after Collins, a party challenging agency action

must show not only that the removal restriction transgresses the

Constitution’s separation of powers but also that the unconstitutional

provision caused (or would cause) them harm.” Collins v. Dep’t of the

Treasury, 83 F.4th 970, 982 (5th Cir. 2023).

      In other words, the “key inquiry” under Collins is whether the

challenged constitutional infirmity “cause[d] harm to the challenging party.”

Calcutt v. Fed. Deposit Ins. Corp., 37 F.4th 293, 317 (6th Cir. 2022); accord

Cmty. Fin. Servs. Ass’n of Am., Ltd. v. Consumer Fin. Prot. Bureau (“CFSA”),

51 F.4th 616, 631 (5th Cir. 2022) (noting the Collins’s inquiry’s focus on

whether a harm occurred).

      In most removal-restriction cases, a plaintiff seeks to invalidate an

action that an unconstitutionally insulated official has already taken. For

example, the plaintiffs in Collins sought to invalidate an amendment to a

stock purchasing agreement made by the FHFA Director. Collins, 594 U.S. at

259. The “harm,” in such a case, is being subjected to a specific rule or

decision implemented by an unconstitutionally protected official.



                                     7/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 8 of 13




      La Grange, in contrast, faces a fundamentally different injury. La

Grange’s feared harm is not the threat of being subjected to a particular

“challenged action.” After all, the insulated actor, the NLRB ALJ, has yet to

take any action whatsoever. Instead, the harm La Grange seeks to avoid is

“being subjected to unconstitutional agency authority—a proceeding before

an unaccountable ALJ.” Dkt. 21 at 16 (quoting Axon Enter., Inc. v. FTC, 598

U.S. 175, 191 (2023)). La Grange maintains that simply having to appear

before an unaccountable ALJ is injury enough. See Dkt. 35 at 8.4

      The Fifth Circuit recognized this distinction in Cochran v. Securities &

Exchange Commission, 20 F.4th 194 (5th Cir. 2021). Cochran, like La

Grange, sought to stop an administrative enforcement proceeding in its

tracks. Id. at 198. In examining Cochran’s harm, the court noted that Collins

did not control “because Cochran does not seek to ‘void’ the acts of any SEC

official. Rather, she seeks an administrative adjudication untainted by


      4 The NLRB cites two cases in which courts denied injunctive relief based on

Collins’s causal-harm requirement, but in neither case did the plaintiff allege the
injury La Grange advances here. Dkt. 38 at 6. Both cases the NLRB cites identify
the harm facing the plaintiffs as the potential, future action of an improperly
insulated actor. Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748,
757 (10th Cir. 2024) (describing the harm of removal protections to be the risk that
such protections “will impact” future actions taken by the agency); Burgess v. Fed.
Deposit Ins. Corp., 639 F. Supp. 3d 732, 747 (N.D. Tex. 2022) (same). But neither
case analyzes or even acknowledges the harm alleged here—of simply being made
to participate in an unconstitutional proceeding.

                                       8/13
    Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 9 of 13




separation-of-powers violations.” Id. at 210 n. 16. This harm, the harm of

being subject to a constitutionally defective adjudication, was “sufficiently

serious to justify pre-enforcement review in federal court.” Id.

      The same holds true for La Grange, which seeks to avoid the injury of

“being compelled to participate in an invalid administrative process.”

Consumers’ Rsch. v. Consumer Prod. Safety Comm’n, 91 F.4th 342, 349 (5th

Cir. 2024) (citation omitted). That harm is both directly caused by the

unconstitutional removal provisions and directly redressed by the requested

relief. Id. at 351 (“‘[W]hen a removal provision violates the separation of

powers,’ the violation ‘inflicts a “here-and-now” injury that can be remedied

by a court.’” (alterations omitted) (quoting Seila Law LLC v. Consumer Fin.

Prot. Bureau, 591 U.S. 197, 212 (2020)).

      In sum, Collins requires a court to determine whether an

unconstitutional removal provision has caused, or is set to cause, harm to the

plaintiff. For removal-restriction claims that seek relief before an insulated

actor acts, it is not that Collins’s causal-harm requirement is altogether

inapplicable, but rather that it is readily satisfied. La Grange’s alleged injury

is having to participate in a constitutionally defective administrative process.

And it’s the removal provisions that create the constitutional defect.



                                      9/13
   Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 10 of 13




           Severability
     Finally, the NLRB asserts that rather than enjoining the proceedings,

a more appropriate remedy would be to sever any offending removal

provisions from the statute by declaring them unconstitutional. Dkt. 32 at

19. But such a “remedy” would not provide La Grange any relief from the

impending harm it is set to experience on October 29 because such a

declaration would not take place until final judgment. So, while severing the

removal provisions may eventually be the proper remedy on the merits, its

potential availability has no bearing on La Grange’s right to preliminary

relief. See SpaceX, No. 6:24-cv-203, Dkt. 41 at 10 (“[U]ntil we have reached

[the merits] –which we have not–consideration of severance is premature.”).

  B. Irreparable Harm
     A harm is irreparable “if it cannot be undone through monetary

remedies.” Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279

(5th Cir. 2012). Once again, La Grange’s alleged harm is “being subjected to”

“a proceeding by an unaccountable ALJ.” Axon, 598 U.S. at 191. In other

words, the injury is “subjection to an illegitimate proceeding, led by an

illegitimate decisionmaker.” Id. While the Supreme Court acknowledged in

Axon that such an injury is “a bit abstract,” it is nevertheless “a here-and-

now injury.” Id. And any remedy crafted after such a proceeding would be

                                   10/13
   Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 11 of 13




“too late to be meaningful” as “[a] proceeding that has already happened

cannot be undone.” Id.

     The NLRB repeatedly insists that because Axon did not address

injunctive relief directly, it “does not bear on the question of irreparable

harm.” Dkt. 32 at 24; see also Dkt. 36 at 3. The NLRB is correct that Axon

examined injury for jurisdictional purposes and not in the injunction

context, but the Court’s conclusion stands. The harm of “being subjected to”

“a proceeding by an unaccountable ALJ” is an injury that “cannot be

undone.” Axon, 598 U.S. at 191. And a harm that “cannot be undone” is by

definition irreparable. See SpaceX v. Bell, 2023 WL 8885128, at *2 (S.D. Tex.

Nov. 8, 2023) (citing Axon and stating that “if Plaintiff can show that . . .

ALJs are unconstitutionally insulated from removal, Plaintiff will be harmed

by having to proceed before an unaccountable ALJ”); See SpaceX, No. 6:24-

cv-203, Dkt. 41 at 13–14 (citing Axon and concluding that “being subjected

to the authority of the unaccountable NLRB Members would also cause

irreparable harm to SpaceX.”).

     La Grange faces irreparable harm absent an injunction.




                                   11/13
   Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 12 of 13




      C. The Remaining Factors
      The third and fourth factors of the preliminary-injunction analysis—

harm to others and the public interest—“merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

      The public-interest factor weighs in favor of La Grange as there is “no

public interest in the perpetuation of unlawful agency action.” Texas v.

Biden, 10 F.4th 538, 560 (5th Cir. 2021). And it is not in the public’s interest

for the Executive Branch to “slip from the Executive’s control, and thus from

that of the people,” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561

U.S. 477, 499 (2010).

      The balance of equities also favors La Grange. The Government fears

an injunction would render the National Labor Relations Act (“NLRA”)

effectively toothless as the NLRB’s procedures are “the sole mechanism for

enforcing the NLRA.” Dkt. 32 at 38; see also Dkt. 39 at 28:23–28:25 (“The

practical effect of an injunction in a proceeding like this is that it stops all

Board proceedings potentially in their tracks.”). But whatever effect this

injunction has, it is directed only at the parties to this action, and is only

temporary. If, for example, either this court or another ultimately severs any

unconstitutional aspects of the NLRB’s statutory structure, the NLRB may



                                     12/13
   Case 3:24-cv-00198 Document 49 Filed on 07/29/24 in TXSD Page 13 of 13




then continue with the here-enjoined administrative proceeding. The

NLRB’s equitable concerns do not outweigh those of La Grange.

                               *     *     *
     For the reasons stated above, La Grange’s motion for preliminary

injunction is granted. Dkt. 21. The underlying NLRB administrative

proceeding against La Grange is enjoined until the court issues a final

judgment in this case.

     Signed on Galveston Island this 29th day of July, 2024.



                                    ___________________________
                                    JEFFREY VINCENT BROWN
                                    UNITED STATES DISTRICT JUDGE




                                   13/13
